Case 23-34815 Document 846-4 Filed in TXSB on 12/04/24 Page 1 of 6




                       EXHIBIT 3
      Case
       Case23-34815
            24-03043 Document
                      Document846-4
                               18 Filed
                                    FiledininTXSB
                                              TXSBonon05/14/24
                                                       12/04/24 Page
                                                                 Page1 2ofof5 6
                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                                 May 14, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                             §
                                   §                     CASE NO: 23-34815
GALLERIA 2425 OWNER, LLC,          §
                                   §                     CHAPTER 11
      Debtor.                      §
                                   §
2425 WL, LLC,                      §
                                   §
      Plaintiff,                   §
                                   §
VS.                                §                     ADVERSARY NO. 24-3043
                                   §
NATIONAL BANK OF KUWAIT, S.A.K.P., §
NEW YORK BRANCH,                   §
                                   §
      Defendant.                   §

         ORDER GRANTING DEFENDANT’S RENEWED MOTION TO DISMISS
          COMPLAINT FOR EQUITABLE SUBORDINATON AND DAMAGES

       This matter is before the Court on the Renewed Motion to Dismiss Complaint for Equitable
Subordination and Damages (ECF No. 11) filed by the defendant National Bank of Kuwait,
S.A.K.O, New York Branch (“NBK”), and the response thereto (ECF No. 17) filed by the plaintiff.
NBK is moving to dismiss the complaint pursuant to Federal Rule of Civil Procedure 12(b)(6) that
the complaint fails to state a claim for relief, and that the plaintiff lacks standing to bring the
complaint. For the following reasons, the motion to dismiss is granted.
                                 FACTUAL BACKGROUND

       This adversary proceeding was commenced on March 22, 2024 (ECF No. 1) (the
“Complaint”). The plaintiff, 2425 WL, LLC (“2425 WL”) is a creditor in the underlying
bankruptcy case and was the owner of real property located at 2425 West Loop South, Houston,
Texas (the “Property”). Ali Choudhri is the owner of 2425 WL.
       According to the plaintiff, NBK agreed to loan money using the Property as collateral only
if 2425 WL sold the Property to another entity. 2425 WL agreed to this strategy and formed
Galleria 2425 Owner LLC on or about April 4, 2018. Galleria 2425 Owner LLC (“Debtor”) is the
debtor in the underlying bankruptcy. The Debtor also formed another entity, Galleria 2425 JV,
1/5
       Case
        Case23-34815
             24-03043 Document
                       Document846-4
                                18 Filed
                                     FiledininTXSB
                                               TXSBonon05/14/24
                                                        12/04/24 Page
                                                                  Page2 3ofof5 6




LLC at the same time which owned 100% of the Debtor. Galleria 2425 JV, LLC was owned by
Galleria West Loop Investments, LLC (97.77%) and Naissance Capital Real Estate, LLC (1.23%).
The managing member of Naissance Capital Real Estate, LLC is Azeemeh Zaheer (“Zaheer”),
who is alleged to be an agent of NBK. As such, 2425 WL alleges that Zaheer conspired with NBK
in putting together the loan package to the detriment of 2425 WL.
        In the Complaint, the plaintiff is requesting this Court to enter a judgment finding the NBK
has engaged in inequitable conduct and is seeking equitable subordination as a result of that
conduct. The plaintiff has alleged that NBK engaged in actual fraud causing the 2425 WL to suffer
$25,000,000.00 in damages.
        In its motion to dismiss, NBK argues that 2425 WL is seeking damages sustained by the
Debtor and therefore, has no standing to proceed with the Complaint. In support of this argument,
NBK states that the allegations in the Complaint are the exact same allegations that are set forth in
another adversary, Case No. 23-03263.1 Adversary Case No. 23-03263 was removed from state
court by the Debtor and is now being prosecuted by the Chapter 11 Trustee. NBK also argues that
the case should be dismissed because the allegations set forth in the Complaint are all actions taken
against the Debtor and not against 2425 WL, which remained a junior lienholder after the sale of
the Property in the form of a vendor’s lien.2
                                     STANDARD OF REVIEW

        The defendants have filed a motion for dismissal for failure to state a claim pursuant to
Federal Rule of Civil Procedure (“FRCP”) 12(b)(6). This rule has been incorporated into Federal
Rule of Bankruptcy Procedure 7012. In evaluating whether a complaint fails to state a claim, the
Court must construe the complaint liberally in favor of the plaintiff as the non-moving party and
assume the truth of well-pleaded facts.3 The Court must assess a motion to dismiss only on “the
facts stated in the complaint and the documents either attached to or incorporated in the
complaint.”4 In order to survive a motion to dismiss, “a plaintiff must plead sufficient ‘facts to




1
  Galleria 2425 WL Owner LLC v. National Bank of Kuwait, S.A.K.P. New York Branch and Azeemeh Zaheer
2
  ECF No. 1, page 5, ¶27 stating 2425 WL retained a vendor’s lien of approximately $14 million.
3
  Stokes v. Gann, 498 F.3d 483, 484 (5th Cir. 2007).
4
  Lovelace v. Software Spectrum, Inc., 78 F.3d 1015, 1017 (5th Cir. 1996).
2/5
        Case
         Case23-34815
              24-03043 Document
                        Document846-4
                                 18 Filed
                                      FiledininTXSB
                                                TXSBonon05/14/24
                                                         12/04/24 Page
                                                                   Page3 4ofof5 6




state a claim to relief that is plausible on its face.’”5 The Court is not required to accept as true
“conclusory allegations, unwarranted factual inferences, or legal conclusions.”6
                                            LEGAL ANALYSIS

        In the instant motion, NBK requests the Court dismiss the plaintiff’s claims pursuant to
FRCP 12(b)(6) stating that the plaintiff has not stated a claim for which relief can be granted.
There are two causes of action in the Complaint.
Equitable Subordination
        A creditor may bring an equitable subordination claim only if it can allege a particularized
injury resulting from the defendant’s inequitable conduct, and equitable subordination must be
consistent with provisions of the Bankruptcy Code. Further, a claim should be subordinated only
to the extent necessary to offset the harm which the debtor or its creditors have suffered as a result
of the inequitable conduct.7 The Fifth Circuit has emphasized that equitable subordination is
remedial, not penal, and in the absence of actual harm, equitable subordination is inappropriate.8
        The allegations in the Complaint are that NBK “engaged in inequitable conduct, including
preventing the Debtor from leasing or selling the Property, breaching a Confidential Settlement
Agreement, exercising control over the ownership of the Debtor and submitting false reports with
regard to the Debtor’s principle owner.” This conduct resulted in artificially depressing the
Property’s value. Taking all of these allegations as true, the Court cannot see that 2425 WL has
properly pled a claim for relief against NBK as the claims alleged some sort of damage to the
Debtor and does not plead that 2425 WL sustained any actual harm.
        In its response, 2425 WL reiterates these allegations stating that it has met the elements of
equitable subordination.9        However, 2425 WL is not mentioned, only that NBK’s conduct
impacted the Debtor. This is true throughout the Complaint. Further, neither the Complaint nor
the response address actual harm that 2425 WL has sustained, instead they both argue that it may
suffer harm under certain circumstances.



5
  Ferguson v. Bank of New York Mellon Corp., 802 F.3d 777 (5th Cir. 2015), citing Bell Atl. Corp. v. Twombly, 550
U.S. 544 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009).
6
  Ferrer v. Chevron Corp., 484 F.3d 776, 780 (5th Cir. 2007).
7
  11 U.S.C. 510(c); In re SI Restructuring, 532 F.3d 355 (5th Cir. 2008) (internal citations omitted).
8
  In re SI Restructuring, Id. at 361; In re Wilshire Homes Houston, Ltd., 2013 WL 5162077 at *29 (S.D. Tex. Sept.
11, 2013).
9
  ECF No. 17, Page 4 of 5.
3/5
        Case
         Case23-34815
              24-03043 Document
                        Document846-4
                                 18 Filed
                                      FiledininTXSB
                                                TXSBonon05/14/24
                                                         12/04/24 Page
                                                                   Page4 5ofof5 6




Fraud

        With respect to fraud and fraud-based claims, a complaint must meet a heightened pleading
standard, “stat[ing] with particularity the circumstances constituting fraud” and the
“[m]alice,intent, knowledge, and other conditions” necessarily underlying fraud. 10 Specifically,
the complaint must “(1) detail the statements (or omissions) that [the plaintiff] contends are
fraudulent, (2) identify the speaker, (3) state where and when the statements (or omissions) were
made, and (4) explain why the statements (or omissions) are fraudulent.”11 A fraud claim is
personal to the defrauded party,12 and only the defrauded party has standing to assert a fraud
claim.13
        The allegations in the Complaint are that 1) “NBK made representations to the Debtor on
the loan transaction.” 2) “[T]he representations of NBK for the loan made the loan with the
intention and purpose to deceive the Debtor.” 3) “[T]he Plaintiff, prior to the loan, relied on the
representations. On information and belief, the Debtor relied on the representations . .” 2425 WL
has failed to state any factual allegations made by NBK against it, if accepted as true, are plausible
and rise above mere speculation as to it.14 2425 WL has failed to articulate any specific
representations made to it that it contends are false or how such representations were reasonably
relied upon by it. If there is a fraud claim, it appears from the allegations in the Complaint, that
the real party in interest is the Debtor and not 2425 WL.
        Under FRCP 9(b), allegations of fraud must state the circumstances constituting the fraud
“with particularity.”15 Pleading claims of fraud but failing to identify specific false or misleading
disclosures made by the defendant constitutes grounds for dismissing a complaint under Rule
12(b)(6).16


10
   FRCP. 9(b).
11
   Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Secs., LLC, 797 F.3d 160, 171 (2d Cir. 2015). See also McCauley
v. Home Loan Inv. Bank, 710 F.3d 551, 559 (4th Cir. 2013); U.S. v. Planned Parenthood of the Heartland, 765 F.3d
914, 916–17 (8th Cir. 2014); Sanderson v. HCA - The Healthcare Co., 447 F.3d 873, 877 (6th Cir. 2006); Borsellino
v. Goldman Sachs Grp., 477 F.3d 502, 507 (7th Cir. 2007); Williams v. WMX Techs., Inc., 112 F.3d 175, 179 (5th
Cir. 1997).
12
   Baker v. City of Robinson, 305 S.W.3d 783, 788 (Tex. App. – Waco 2009) Vial v. Gas Sols., Ltd., 187 S.W.3d
220, 227 (Tex. App. – Texarkana 2006, no pet.) (citing Noblesv. Marcus, 533 S.W.2d 923, 927 (Tex. 1976)).
13
   Zaan, LLC v. Sangani, 2015 WL 2398652, *4 (Tex. App. – Dallas, May
20, 2015) (citing Nobles, 533 S.W.2d at 927).
14
   Ashcroft v. Iqbal, 556 U.S. 662 (2009).
15
   Fed. R. Civ. P. 9(b); see also, Hernandez v. Ciba-Geigy Corp., 200 F.R.D. 285, 290 (S.D. Tex 2001); U.S. v.
Medco Health Solutions, Inc., 671 F.3d 1217, 1222 (11th Cir. 2012).
16
   Royal Bus. Grp. v. Realist, Inc., 933 F.2d 1056, 1065-66 (1st Cir. 1991).
4/5
          Case
           Case23-34815
                24-03043 Document
                          Document846-4
                                   18 Filed
                                        FiledininTXSB
                                                  TXSBonon05/14/24
                                                           12/04/24 Page
                                                                     Page5 6ofof5 6




           The court then considers whether leave to amend should be granted, as Federal Rule of
Bankruptcy Procedure 7015 provides that a court should freely give leave to amend pleadings
when justice so requires.17 In its response, 2425 WL requested leave to amend if the Court were
to dismiss the case.
           ACCORDINGLY, IT IS ORDERED that the motion to dismiss is granted, and all claims
against NBK are dismissed.
           IT IS FURTHER ORDERED that the plaintiff, 2425 WL shall have 14 days to file an
amended complaint.
            SIGNED 05/14/2024


                                                            ___________________________________
                                                            Jeffrey Norman
                                                            United States Bankruptcy Judge




17
     re Meyrowitz, Adv. No. 10-03227, 2010 WL 5292066 (Bankr. N.D. Tex. Dec. 20, 2010).
5/5
